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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
                               Long Island Federal Courthouse
                                     814 Federal Plaza
                               Central Islip, NY 11722-4451
                                      (631) 712-5730

BEFORE:       ARLENE R. LINDSAY                       DATE: 11/28/2018
              United States Magistrate Judge
                                                      TIME: 1:50 pm

DOCKET NO: CV 18-4334 (JS)


CASE: Kelly v. Incorporated Village of Garden City


 X   INITIAL CONFERENCE
     STATUS CONFERENCE                                 BY TELEPHONE
     SETTLEMENT CONFERENCE
     FINAL CONFERENCE
     DISCOVERY CONFERENCE


       APPEARANCES:                  FOR PLAINTIFF:                FOR DEFENDANTS:
                                     David A. Luttinger, Jr.       Deanna D. Panico
                                     Teresa T. Lewi


The following rulings were made:
       The matter is referred to the Court’s Mediation program. Discovery, except what is
necessary for mediation, is stayed pending the outcome of mediation.




                                     SO ORDERED:
                                      ___________/s/____________
